Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 1 of 18




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                         )
   In re: Application Pursuant to        )
   28 U.S.C.§ 1782 of                    )
                                         )
   FARHAD AZIMA                          )
   5921 Ward Parkway                     )
   Kansas City, Missouri 64113           )   No. 22 mc-
                                         )
                         Petitioner,     )
                                         )
          v.
                                         )
   INSIGHT ANALYSIS AND RESEARCH         )
   LLC                                   )
   13727 SW 152 Street #715              )
   Miami, Florida 33177                  )
                                         )
                          Respondent,    )
                                         )
   SDC-GADOT LLC                         )
   3200 Collins Ave.                     )
   Suite L2                              )
   Miami Beach, Florida 33140            )
                                         )
                         Respondent.     )
                                         )


           MEMORANDUM OF LAW IN SUPPORT OF FARHAD AZIMA’S
   APPLICATION FOR ORDER TO TAKE DISCOVERY PURSUANT TO 28 U.S.C. § 1782
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 2 of 18




                                                  TABLE OF CONTENTS



   I.     INTRODUCTION ...............................................................................................................1

   II.    BACKGROUND .................................................................................................................2

          A.        Summary of the UK Proceedings ............................................................................2

          B.        Mr. Azima’s Amended Counterclaim ......................................................................3

          C.        The Discovery Requested ........................................................................................6

   III.   ARGUMENT .......................................................................................................................7

          A.        Mr. Azima’s Application Satisfies All of the Statutory
                    Requirements of 28 U.S.C. § 1782 ..........................................................................8

          B.        The Intel Discretionary Factors Also Weigh in Favor of Granting
                    Mr. Azima’s Application .......................................................................................10

                    1.         Respondents are Not Participants in the UK Proceedings .........................10

                    2.         The UK Court is Receptive to Section 1782 Discovery ............................11

                    3.         Mr. Azima Is Not Concealing an Attempt to Circumvent
                               Any UK Court Proof-Gathering Restrictions ............................................12

                    4.         The Discovery Mr. Azima Seeks is Relevant and Narrowly
                               Tailored ......................................................................................................13

   IV.    CONCLUSION ..................................................................................................................14




                                                                      i
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 3 of 18




                                                  TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

   Cases

   In re Clerici,
       481 F.3d 1324 (11th Cir. 2007) ...............................................................................................11

   In re England/Bahamas,
       No. 20-MC-61696, 2021 WL 3270074 (S.D. Fla. July 30, 2021 ............................9, 11, 12, 14

   Intel Corp. v. Advanced Micro Devices, Inc.,
       542 U.S. 241 (2004) ......................................................................................................... passim

   In re Kivisto,
       521 F. App’x 886 (11th Cir. 2013) ..........................................................................................13

   In re Novoship (UK) Limited,
       No. 20-60876, 2020 WL 3286308 (S.D. Fla. June 18, 2020) ..................................................11

   Victoria, LLC v. Likhtenfeld,
       791 F. App'x 810, 816 (11th Cir. 2019) ...............................................................................9, 11

   Statutes

   28 U.S.C. § 1782 .................................................................................................................... passim

   28 U.S.C. § 1782(a) .........................................................................................................8, 9, 10, 12

   Other Authorities

   BellTrox works on same hacking contracts as ancestor Appin, Intelligence Online,
       Issue 859, (August 26, 2020), https://www.intelligenceonline.com/corporate-
       intelligence/2020/08/26/belltrox-works-on-same-hacking-contracts-as-
       ancestor-appin,109602044-art ...................................................................................................3

   Raphael Satter and Christopher Bing, Israeli charged in global hack-for-hire
      scheme wants plea deal – court filing, Reuters (June 30, 2021)................................................3




                                                                       ii
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 4 of 18




   I.     INTRODUCTION

          U.S. citizen Farhad Azima currently has a pending case in the High Court of Justice of

   England and Wales (the “UK Court”), which seeks to hold a group of overseas defendants (the

   “UK Defendants”) responsible for the unlawful hacking of Mr. Azima’s electronic data. See

   Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard (3) Dechert LLP and (4) James Edward

   Deniston Buchanan (Claim Number: HC-2016-002798) (the “UK Proceedings”). A recent

   affidavit filed before the UK courts makes clear that the respondents here, Florida-based

   companies Insight Analysis and Research LLC (“Insight”) and SDC-Gadot LLC (“Gadot”)

   (collectively “Respondents”), have material information relevant both to the unlawful hacking

   and to the cover up of that hacking by the UK Defendants in an earlier UK trial. In this

   application, brought pursuant to 28 U.S.C. § 1782, Mr. Azima seeks the assistance of this Court

   in obtaining this critical information for use in the UK proceeding.

          As explained below, the application should be granted because it satisfies the statutory

   requirements for obtaining discovery under section 1782. In particular, (i) Mr. Azima seeks

   discovery from Florida corporations (Insight and Gadot) located in this District; (ii) the

   discovery will be used in proceedings that are pending before a foreign tribunal, namely the UK

   Court; and (iii) Mr. Azima is a party to that litigation. In addition, the discretionary factors

   identified by the Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241

   (2004), all support the granting of the requested discovery: (i) the Respondents to this

   Application are not parties to the case before the UK Court; (ii) the UK Court is receptive to

   discovery obtained pursuant to Section 1782; (iii) Mr. Azima’s Application is not an attempt to

   circumvent the UK Court’s proof-gathering requirements; and (iv) the discovery that Mr. Azima




                                                     1
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 5 of 18




   seeks is highly relevant to the matters in dispute in the underlying litigation and is narrowly

   tailored to avoid imposing undue burden or intrusion on the respondent.

          For these reasons, which are set forth more fully below, Mr. Azima respectfully submits

   that his application for discovery pursuant to Section 1782 should be granted.

   II.    BACKGROUND

          The factual background of the dispute underlying the Counterclaim is set forth in detail in

   the Amended Counterclaim, attached as Exhibit A to the Declaration of Dominic Holden

   (“Holden Decl.”). Because the Amended Counterclaim is extremely lengthy, the key allegations

   relevant to this petition are summarized below.

          A.      Summary of the UK Proceedings

          The UK Proceedings commenced in 2016, when the Ras Al Khaimah Investment

   Authority (“RAKIA”) 1 sued Mr. Azima in a civil action in the UK Court over a business dispute.

   RAKIA’s claim against Mr. Azima was based on information that was obtained by the illegal

   hacking of Mr. Azima’s computers and e-mail accounts. 2 Mr. Azima’s counterclaim alleged

   RAKIA and its agents were responsible for the hacking. After an initial trial, the UK Court

   entered a judgment for RAKIA and dismissed Mr. Azima’s counterclaim. However, the

   dismissal of Mr. Azima’s hacking claim was reversed on appeal, and the claim was remanded for

   a new trial in which Mr. Azima was permitted to develop and submit new evidence.

          Following the remand, Mr. Azima amended his Counterclaim to add additional

   defendants, namely RAKIA’s outside counsel Dechert LLP, Dechert partner Neil Gerrard,


   1RAKIA is the investment authority of the Ras Al Khaimah (“RAK”), which is one of the seven
   Emirates which together constitute the United Arab Emirates.
   2RAKIA’s initial position in the UK Proceedings was that its agents came across the material
   obtained from the hacking innocently on the internet.


                                                     2
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 6 of 18




   RAKIA executive Jaime Buchanan, and Stuart Page, a private investigator. 3 Holden Decl. ¶ 12.

   The Amended Counterclaim also added more detailed allegations as to how the defendants and

   others conspired to hack Mr. Azima’s computers and electronic data. See Holden Decl. ¶ 12, Ex.

   A ¶¶ 101-11 (summarizing the case against RAKIA and each of the additional defendants).

            Recently, the Amended Counterclaim was amended further to allege a widespread

   scheme by the UK Defendants to present false testimony to the UK court in the first trial to cover

   up their illicit methods of obtaining Mr. Azima’s data. See Holden Decl. ¶ 9, Ex. A. The most

   recent amendments were based largely upon an affidavit from Stuart Page, who served as a

   RAKIA witness in the first trial but recently provided an affidavit to the UK Supreme Court

   exposing the extent of the fraud perpetrated on the UK Court in the first trial.

            B.      Mr. Azima’s Amended Counterclaim

            As alleged in the Amended Counterclaim and detailed in Mr. Page’s affidavit, RAKIA

   worked with Mr. Page, who in turn instructed Israeli hacker, Amit Forlit, to investigate Mr.

   Azima and others. Holden Decl. ¶ 10. Mr. Forlit works for Respondents, Insight and Gadot,

   both of which are Florida-based and both of which use signal intelligence techniques such as

   hacking to gather information, and is the authorized member for Gadot. See Holden Decl. ¶¶ 10-

   11, Ex. B. Mr. Forlit also has connections with other known hackers. Mr. Forlit is reportedly

   “close to” Aviram Azari, who is currently in custody in New York facing criminal charges

   related to hacking. 4



   3   Mr. Page has since settled with Mr. Azima.
   4 See BellTrox works on same hacking contracts as ancestor Appin, Intelligence Online, Issue
   859, (August 26, 2020), https://www.intelligenceonline.com/corporate-
   intelligence/2020/08/26/belltrox-works-on-same-hacking-contracts-as-ancestor-
   appin,109602044-art; Raphael Satter and Christopher Bing, Israeli charged in global hack-for-
   hire scheme wants plea deal – court filing, Reuters (June 30, 2021),

                                                    3
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 7 of 18




          Mr. Page paid Mr. Forlit for his work through the US bank accounts of Respondents

   Insight and Gadot. See Holden Decl. ¶ 10(a), Ex. C (invoices from Respondents, Insight and

   Gadot to Mr. Page seeking payment through accounts with Bank of America, JP Morgan Chase,

   and Citibank). The invoices for payment were sent using the Respondents’ Florida addresses. 5

          Mr. Page’s affidavit indicates that starting in at least February 2015, Mr. Forlit and

   Respondents were paid to prepare a series of reports for the UK Defendants about the

   investigation subjects, which included Mr. Azima. See Holden Decl., Ex. D ¶¶ 9-10. At least

   some of the reports contained extracts from hacked communications, and it would have been

   clear to anyone reading the reports that the extracts were the result of hacking. See Holden Decl.

   ¶ 15; Ex. D ¶ 16. Though the reports were exchanged confidentially and destroyed as a matter of

   course, one report from March 2015 was provided to Mr. Azima by RAKIA in UK discovery.

   That report proposed action against Mr. Azima by RAKIA and its agents including “gather[ing]

   intelligence on their progress in order to monitor their activities and attempt to contain or ruin

   their plans.” Holden Decl. ¶ 15. Mr. Page and Mr. Forlit communicated via secure

   communications, including through draft emails in a joint account that would be saved and

   deleted, as well as through secure messaging applications, such as Silent Circle and Signal. See

   Holden Decl. ¶ 22, Ex. D ¶ 20. Mr. Page paid Respondents approximately $250,000 per month

   for this work. See Holden Decl. ¶ 10(a), Ex. D ¶ 17.

          A subsequent witness statement submitted by Mr. Page in separate proceedings

   demonstrates that Mr. Forlit’s hacking continued well into 2020. Holden Decl. ¶ 22, Ex. E.



   https://www.reuters.com/technology/israeli-charged-global-hacker-for-hire-scheme-wants-plea-
   deal-court-filing-2021-06-30/
   5 Before Respondents were incorporated in Florida, the entities conducted operations out of
   Israel, including with respect to the investigation of Mr. Azima. See Holden Decl. ¶ 12.


                                                    4
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 8 of 18




   According to that witness statement, during Mr. Azima’s first trial in early 2020, Mr. Handjani

   and Mr. Gerrard met with Mr. Page on multiple occasions, including at the Royal Automobile

   Club in London, to instruct Mr. Page to investigate the funding of Mr. Azima’s and other’s

   litigation related RAKIA and Dechert LLP. Id. Mr. Page instructed Mr. Forlit to conduct the

   investigation and provided Mr. Forlit’s report, which included hacked documents, to Mr.

   Handjani. Mr. Page also met with Mr. Gerrard at a service station in mid-2020 to show him a

   copy of the report. Id. Given the role Mr. Forlit played in the investigation of Mr. Azima and

   others and the creation and distribution of the reports containing hacked data, as well as the

   payments made to Respondents for this work, Respondents should have relevant documents and

   information for the UK Proceedings.

          In addition to describing the role that Mr. Forlit (and Respondents) played in the

   investigation of Mr. Azima, which included hacking, Mr. Page’s affidavit also confirms that the

   UK Defendants, along with Mr. Forlit, engaged in an elaborate conspiracy to submit perjured

   testimony in the UK proceedings. See Holden Decl. at Ex. D, Ex. F.

          To summarize, RAKIA’s defense at the first trial was that they had obtained Mr. Azima’s

   hacked data when an Israeli journalist, Majdi Halabi, found links to the hacked data on the

   internet. See Holden Decl. ¶¶ 23-26. Multiple RAKIA witnesses, including its lawyer, Neil

   Gerrard, testified to this story. However, in his January 2022 affidavit, Mr. Page stated that this

   story was false because, Mr. Page states, links to the stolen data were provided to Mr. Page by

   Mr. Forlit.

          The UK defendants concocted the false story of innocent discovery to avoid telling the

   UK court the true story of how they came into possession of Mr. Azima’s stolen data. See

   Holden Decl. ¶¶ 24-25. In a series of meetings in 2018 and 2019, Mr. Forlit joined Mr. Gerrard,



                                                    5
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 9 of 18




   Mr. Hughes, Mr. Buchanan, Mr. Page, and Mr. Halabi, along with others, at meetings in Cyprus,

   Switzerland, and England, to develop and rehearse the false story. Mr. Forlit attended these

   meetings, and because he was working and being paid for his services by the Respondents, they

   should have relevant documents about the scheme to defraud the UK Court.

          A separate witness statement filed by Paul Robinson in a different proceeding shows

   additional document destruction extending through at least June 2020. See Holden Decl. at Ex.

   G. Mr. Robinson explained that he had undertaken various engagements for Nicholas Del

   Rosso, including gathering information about Mr. Azima. Mr. Robinson received his

   instructions from Patrick Grayson and understood those instructions to be on behalf of Mr. Del

   Rosso. In June 2020, Mr. Grayson directed Mr. Robinson to destroy and sanitize any material

   that could connect Mr. Grayson or Mr. Del Rosso to the investigation of Mr. Azima carried out

   by Mr. Robinson. See Holden Decl. ¶ 27-28, Ex. G. These instructions for investigators

   working for RAKIA to sanitize and destroy documents relevant to these proceedings occurred at

   or around the same time as Mr. Page’s meetings with Mr. Handjani and Mr. Gerrard to pedal one

   of Mr. Forlit’s reports containing hacked documents. It is likely that similar instructions were

   provided to Mr. Forlit as well.

          C.      The Discovery Requested

          Based on the sworn allegations and pleadings in the UK Proceedings, it is clear that

   Respondents are in possession of relevant evidence related to both the hacking and the

   presentation of the false story about how the UK Defendants obtained the hacked materials.

   Respondents were paid millions of dollars for these services and issued invoices from their US-

   based addresses. Mr. Forlit’s services began in February 2015 and continued through at least

   May 2020 and likely to present. Accordingly, Mr. Azima seeks this Court’s assistance in



                                                    6
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 10 of 18




   obtaining compulsory process so that he can collect evidence and testimony from Respondents

   Insight and Gadot.

          Draft subpoenas detailing the documents and communications sought by Mr. Azima are

   attached as Exhibit H to the Holden Declaration. In summary, Mr. Azima seeks two narrow and

   discrete categories of documents. First, Mr. Azima seeks documents and communications

   related to the investigation work performed by Mr. Forlit and Respondents from February 2015

   to present, including for example, the monthly reports prepared for RAKIA, the underlying

   hacked documents supporting those reports, and invoices, payment records, and communications

   about that investigative work. Second, Mr. Azima seeks documents and communication related

   to Mr. Azima’s first UK trial and the conspiracy to mislead the court about the origin of Mr.

   Azima’s hacked data. This request includes communications with the co-conspirators who

   developed and rehearsed the false testimony, as well as information about meetings with those

   conspirators.

          With regard to the requested depositions, Mr. Azima seeks from each Respondent a Rule

   30(b)(6) deposition of a company representative with knowledge of the two issues discussed

   above: (1) the investigation of Mr. Azima, related hacking, and preparation of investigation

   reports; and (2) the subsequent cover-up and scheme to submit false evidence to the UK Court.

   Mr. Azima also requests that the Respondents be directed to produce their employee, Mr. Forlit,

   for a deposition on these same subjects.

   III.   ARGUMENT

          This Court has the authority to grant Mr. Azima’s application pursuant to 28 U.S.C.

   Section 1782 for assistance in obtaining evidence for use in connection with the UK

   Proceedings. Section 1782 provides in pertinent part that “[t]he district court of the district in



                                                     7
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 11 of 18




   which a person resides or is found may order him to give his testimony or statement or to

   produce a document or other thing for use in a proceeding in a foreign or international tribunal.”

   28 U.S.C. § 1782(a). As shown below, Mr. Azima’s application meets the statutory

   requirements for obtaining discovery under Section 1782. Mr. Azima is an “interested person”

   for purposes of Section 1782. Mr. Azima seeks evidence, through deposition testimony and

   documents. That evidence is sought for use in connection with a proceeding pending before a

   foreign tribunal (the UK Court). Respondents reside in or are found in Miami, Florida.

          In addition, the four discretionary factors that have been identified by the United States

   Supreme Court in Intel Corp., 542 U.S. at 249, all weigh in favor of granting Mr. Azima’s

   request. Respondents are not parties to the UK Proceedings; the UK Court is not opposed to this

   form of discovery; Mr. Azima is not concealing an attempt to circumvent the requirements of the

   UK Court; and the discovery sought is both highly relevant to the matters in dispute and

   narrowly tailored to avoid imposing any undue burden or intrusion on the Respondents.

          A.      Mr. Azima’s Application Satisfies All of the Statutory Requirements of 28
                  U.S.C. § 1782

          Section 1782 authorizes federal district courts to assist foreign litigants and other

   interested parties in gathering evidence for use in a proceeding before a foreign or international

   tribunal. See Intel Corp., 542 U.S. at 247. The statute provides that:

                  The district court of the district in which a person resides or is
                  found may order him to give his testimony or statement or to
                  produce a document or other thing for use in a proceeding in a
                  foreign or international tribunal, including criminal investigations
                  conducted before formal accusation. The order may be made
                  pursuant to a letter rogatory issued, or request made, by a foreign or
                  international tribunal or upon the application of any interested
                  person and may direct that the testimony or statement be given, or
                  the document or other thing be produced, before a person appointed
                  by the court . . . . To the extent that the order does not prescribe
                  otherwise, the testimony or statement shall be taken, and the


                                                    8
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 12 of 18




                  document or other thing produced, in accordance with the Federal
                  Rules of Civil Procedure.

   28 U.S.C. § 1782(a). The Eleventh Circuit has held that the requirements of Section 1782 are

   met when the following are shown: “(1) the request must be made ‘by a foreign or international

   tribunal,’ or by ‘any interested person’; (2) the request must seek evidence, whether it be the

   ‘testimony or statement’ of a person or the production of ‘a document or other thing’; (3) the

   evidence must be ‘for use in a proceeding in a foreign or international tribunal’; and (4) the

   person from whom discovery is sought must reside or be found in the district of the district court

   ruling on the application for assistance.” Victoria, LLC v. Likhtenfeld, 791 F. App’x 810, 816

   (11th Cir. 2019) (cited by In re England/Bahamas, No. 20-MC-61696, 2021 WL 3270074, at *2

   (S.D. Fla. July 30, 2021)). Mr. Azima’s application satisfies all four requirements.

          First, Mr. Azima is an “interested person” in the underlying foreign or international

   proceeding. Litigants in a case being adjudicated before a foreign tribunal are “interested

   persons” for purposes of Section 1782. The Supreme Court has held that “[n]o doubt litigants

   are included among, and may be the most common example of, the ‘interested person[s]’ who

   may invoke § 1782.” Intel Corp., 542 U.S. at 256. Accordingly, Mr. Azima is an “interested

   person” within the meaning of Section 1782.

          Second, Mr. Azima seeks to compel testimony by Respondents’ corporate representatives

   and the production of documents. The nature of his requests clearly meet the second statutory

   requirement that the request be for “evidence.”

          Third, the discovery is sought for use in connection with a proceeding before a foreign or

   international tribunal. The discovery sought in this case will be used for the proceedings before

   the High Court of Justice of England and Wales. The UK Court is clearly a foreign tribunal

   within the meaning of Section 1782. See Intel Corp., 542 U.S. at 257-58.


                                                     9
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 13 of 18




          Fourth, the Respondents from which discovery is sought reside in or are found the

   district where the application is made. Here, Respondent Insight resides or is found in the

   Southern District of Florida. According to its Florida Limited Liability Company Annual

   Report, filed on February 3, 2021, Insight maintains an office at 13727 SW 152 Street #715,

   Miami, Florida, 33177. See Holden Decl. ¶ 10, Ex. B. According to its Florida Limited Liability

   Company Annual Report, filed on February 3, 2021, Gadot operates through its registered agent

   at an office at 4101 Pine Tree Drive, Unit 1530, Miami Beach, Florida, 33140. Id.

          In sum, Mr. Azima’s application satisfies all four statutory requirements and should be

   granted. As discussed infra, the discretionary factors identified by the Supreme Court in Intel

   Corp. also weigh in favor of granting Mr. Azima’s application.

          B.      The Intel Discretionary Factors Also Weigh in Favor of Granting Mr.
                  Azima’s Application

          The Supreme Court in Intel has identified four discretionary factors that guide district

   courts in considering the grant of a Section 1782 discovery application: (1) whether the

   respondent is a participant in the international tribunal proceedings, (2) whether the foreign

   tribunal is resistant to section 1782 discovery, (3) whether the petitioner is concealing an attempt

   to circumvent tribunal proof-gathering restrictions, and (4) whether the requested discovery is

   relevant and narrowly tailored. Each of the discretionary factors weigh in favor of granting Mr.

   Azima’s Section 1782 discovery application.

                  1.      Respondents are Not Participants in the UK Proceedings

          First, Intel held that district courts should consider whether “the person from whom

   discovery is sought is a participant in the foreign proceeding.” Id. at 264. This is because “the

   need for § 1782(a) aid [against a participant] generally is not as apparent as it ordinarily is when

   evidence is sought from a nonparticipant in the matter arising abroad.” Id.


                                                    10
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 14 of 18




          Neither Respondent is a participant in the UK Proceedings. See Holden Decl. ¶ 4, Ex. A.

   Thus, the evidence held by Respondents is outside the jurisdictional reach of the UK Court.

   Indeed, Section 1782 was enacted specifically to assist parties in litigation facing this type of

   situation. “A foreign tribunal has jurisdiction over those appearing before it. . . .In contrast,

   nonparticipants in the foreign proceeding may be outside the foreign tribunal’s jurisdictional

   reach; thus, their evidence, available in the United States, may be unobtainable absent [Section]

   1782(a) aid.” Intel Corp., 542 U.S. at 244. For that reason, the fact that the person from which

   discovery is sought is a “nonparticipant” in the foreign or international proceedings typically

   weighs in favor of granting the requested discovery. Id. at 264.

                  2.      The UK Court is Receptive to Section 1782 Discovery

          Second, Intel held that a district court should consider the “receptivity” of the foreign or

   international tribunal in question to “U.S. federal-court judicial assistance.” Intel Corp., 542

   U.S. at 264. This does not require the district court to engage in an extensive analysis of whether

   a foreign or international tribunal would be receptive to discovery assistance. Rather, the inquiry

   requires courts to “contemplate[] the climate of the foreign court and proceedings to ascertain

   how receptive it will be to the sought discovery.” Victoria LLC, 791 F. App’x at 817. In so

   doing, courts consider “the nature of the foreign tribunal” and “the character of the proceedings.”

   In re Clerici, 481 F.3d 1324, 1335 (11th Cir. 2007). After conducting this analysis, the Southern

   District of Florida has granted applications pursuant to Section 1782 for matters pending in the

   UK. See In re England/Bahamas, 2021 WL 3270074, at *2; In re Novoship (UK) Limited, No.

   20-60876, 2020 WL 3286308, at *3 (S.D. Fla. June 18, 2020).

          The nature and character of the UK Proceeding is such that the court will be receptive to

   foreign discovery. The documents, materials, and information sought from Respondents concern



                                                     11
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 15 of 18




   potential evidence that supports Mr. Azima’s claims of misconduct perpetrated by the

   counterclaim defendants. Given their relevance to the proceedings, Mr. Azima has good reason

   to believe that the requested documents and deposition testimony could, and would, be

   considered by the UK court. There is no reason to think that the discovery sought would be

   inadmissible or otherwise rejected by the UK court.

                  3.      Mr. Azima Is Not Concealing an Attempt to Circumvent Any UK
                          Court Proof-Gathering Restrictions

          Third, Intel held that a district court should consider “whether the § 1782(a) request

   conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of a

   foreign country or the United States.” Intel, 542 U.S. at 265. This factor is intended to protect

   against an applicant’s misuse of the process by verifying that it is not attempting to avoid proof-

   gathering restrictions that are imposed in the underlying proceeding. However, the law is clear

   that, absent bad faith on the part of the applicant, a court will not weigh this factor against

   allowing discovery. Courts will not withhold discovery if nothing in the record suggest that the

   application conceals an attempt to circumvent foreign proof-gathering. Courts have held that the

   fact that the request information would not be discoverable in the foreign proceeding is

   insufficient to demonstrate that a Section 1782 application is an attempt to circumvent

   restrictions. See In re England/Bahamas, 2021 WL 3270074, at *6 (holding that there is no

   attempt to circumvent UK proof gathering restrictions when the court “is unaware of any

   authority to support the conclusion that either jurisdiction would prohibit parties from obtaining

   and using deposition testimony obtained elsewhere”).

          Mr. Azima’s application does not seek to avoid any proof-gathering requirements of the

   UK Court and is a good-faith attempt to seek discovery that would assist him in presenting his

   case at the UK Court, namely by obtaining additional evidence regarding the hacking perpetrated


                                                     12
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 16 of 18




   by the UK Defendants and subsequent cover-up. The fact that the UK Court has no jurisdiction

   over Respondents makes it necessary for Mr. Azima to pursue discovery from Respondents

   through this court. Mr. Azima is pursuing this discovery at the first available opportunity

   because in the first trial, RAKIA did not disclose Respondents’ involvement in the investigation

   of Mr. Azima or in the scheme to defraud the UK Court. See Holden Decl. ¶¶ 5-7.

                   4.      The Discovery Mr. Azima Seeks is Relevant and Narrowly Tailored

           Lastly, Intel held that a district court should consider whether “unduly intrusive or

   burdensome requests may be rejected or trimmed.” Intel Corp., 542 U.S. at 265. In reviewing

   this factor, courts look to whether the request is sufficiently tailored to the litigation issues for

   which production is sought. The Eleventh Circuit instructs district courts to examine whether an

   application contains “unduly intrusive or burdensome requests,” is “made in bad faith or for the

   purpose of harassment,” or is part of a “fishing expedition.” In re Kivisto, 521 F. App’x 886, 888

   (11th Cir. 2013).

           Here, Mr. Azima’s request is narrowly tailored and not unduly burdensome or intrusive.

   Mr. Azima has confined his request solely to Respondents’ documents related to two categories:

   (1) All documents and communications from February 2015 to March 2020 related to any work

   performed by Respondents, Mr. Forlit or Mr. Page for RAKIA and/or its agents related directly

   or indirectly to Mr. Azima; and (2) All documents and communications from January 2018 to

   March 2020 related to Mr. Azima’s trial and the conspiracy to lie to the UK court about the

   discovery of the hacked data. This limited discovery is not overly broad or unduly burdensome.

   Both of the reports prepared by Respondents and the subsequent cover up of the hacking are key




                                                      13
Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 17 of 18




   issues in the Amended Counterclaim and will be issues at trial. The requests are narrowly

   tailored to address those two narrow issues. 6

          In sum, Mr. Azima’s Section 1782 application satisfies both the relevant statutory

   requirements and the discretionary factors that have been identified by the Supreme Court in

   Intel. Mr. Azima’s application accordingly should be granted.

   IV.    CONCLUSION

          For the foregoing reasons, Mr. Azima respectfully requests that this Court grant his

   Section 1782 discovery application and enter the accompanying proposed order directing

   Respondents to produce the documents requested and appear for a deposition.



                                                Respectfully submitted,


   Dated: March 8, 2022                         /s/ Michael S. Pasano
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   6If Respondents have any legitimate concerns regarding confidentiality and or the scope of any
   documents requested, Mr. Azima is willing to discuss a protective order to facilitate the
   production of the requested discovery. See In re England/Bahamas, 2021 WL 3270074, at *7.


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Case 1:22-cv-20707-JEM Document 1-2 Entered on FLSD Docket 03/08/2022 Page 18 of 18




                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 8, 2022, I caused a true and correct copy of Farhad

   Azima’s Memorandum of Law in support of his Application was sent via FedEx to the following

   recipient:

          Insight Analysis and Research LLC
          13727 SW 152 Street, Unit 715
          Miami, Florida 33177
          Serve: SRSL Management, Inc. (Registered Agent)
          4101 Pine Tree Drive, Unite 1530
          Miami Beach, Florida 33140

          SDC-GADOT LLC
          W 210 89th Street, Apt. 1K
          New York, NY 10024
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          4101 Pine Tree Drive, Unite 1530
          Miami Beach, Florida 33140


                                                              /s/ Michael S. Pasano ___________
                                                              Michael S. Pasano




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